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                        32IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

                                                     :
 EVERINGHAM & KERR, INC.,                            :
                                                     : Docket No.:
                              Plaintiff,             :
                                                     : COMPLAINT
              v.                                     :
                                                     :
 HAROLD CASWELL, LYNNE CASWELL,                      :
 CASWELL HOLDING CO., INC., AND                      :
 HARRY CASWELL, INC.,                                :
                                                     :
                              Defendants.            :
                                                     :
                                                     :
                                                     :

       Plaintiff Everingham and Kerr, Inc. (“E&K”), by way of complaint against defendants

Harold Caswell, Lynne Caswell, Caswell Holding Co., Inc., and Harry Caswell, Inc.,

(collectively, the “Defendants”), states:

                                            THE PARTIES

       1.      E&K is a New Jersey corporation with a principal place of business of 156 High

Street, Mullica Hill, New Jersey 08062.

       2.      Defendant Harold R. “Harry” Caswell is an individual who resides at 37765 Bay

Harbor Circle, Rehoboth Beach, Delaware 19971.

       3.      Defendant Lynne Caswell is an individual who resides at 37765 Bay Harbor

Circle, Rehoboth Beach, Delaware 19971.

       4.      Defendant Caswell Holding Co., Inc. is a Delaware Corporation with a principal

place of business of 32645 Long Neck Road, Millsboro, Delaware, 19966.

       5.      Defendant Harry Caswell Inc. is a Delaware Corporation with a principal place of

business of 32645 Long Neck Road, Millsboro, Delaware, 19966.

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        6.      At all relevant times, defendants Harold Caswell and Lynne Caswell operated a

plumbing, heating and air conditioning business through Harry Caswell Inc. and Caswell

Holding Co., Inc. (the “Company”) .

                                  JURISDICTION AND VENUE

        7.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1332, as there

is complete diversity between the parties, and the amount in controversy is more than $75,000.

        8.      Venue is appropriate in this district pursuant to 28 U.S.C. § 1391(b)(1) as all

Defendants reside in this district and is also appropriate pursuant to 28 U.S.C. § 1391(b)(2) as a

substantial part of the events giving rise to this claim occurred in this district.

                                   FACTUAL BACKGROUND

        9.      At all relevant times, the Company provided its customers with plumbing,

mechanical, and utility contracting services.

        10.     On information and belief, Caswell Holding Co. Inc., is the sole shareholder of

Harry Caswell, Inc.

        11.     At all relevant times, defendants Harold Caswell and Lynne Caswell were the sole

shareholders of Caswell Holding Co., Inc.

        12.     At all relevant times, Harold Caswell was the President and C.E.O. of Harry

Caswell, Inc.

        13.     E&K is an advisory firm that specializes in providing intermediary services, such

as merger, acquisition, divestiture, valuation, and corporate transactional consulting, for middle

market companies, owners, and entrepreneurs.

        14.     In 2021 and 2022, Defendants contemplated a corporate sale, merger, or

restructuring of the Company.



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       15.       At or around the same time, the Defendants sought the services of E&K to assist

in facilitating and providing consultation regarding any potential sale, merger, or corporate

restructuring.

                                         THE CONTRACT

       16.       On January 17, 2022, the Defendants (collectively defined in the contract as the

“Client”) executed a contract (the “Contract”) with E&K (defined in the Contract as

“Consultant”). A true copy of the Contract is attached as Exhibit A.

       17.       The Contract states in part:

       The Client agrees to retain Consultant as intermediary and exclusive
       representative in connection with (i) the sale of the Client's stock or assets of the
       Company including an investment in the Company, the entering into a strategic
       alliance, licensing agreement, royalty agreement, joint venture or any other non-
       prior existing business relationship and may also be in the form of a merger, a
       refunding, a recapitalization or other corporate restructuring to any person or
       entity, including existing partners or shareholders, their heirs or assigns and
       employees or to an employee stock ownership plan and (ii) if connected to the
       sale of the Company and if commonly-owned, the sale or lease of the facilities
       (the "Facilities"); collectively (the "Transaction ").

       18.       The Contract provides that the Contract would remain in force for an initial term

of twelve months from the date of execution with automatic six-month renewals to allow for the

completion of a Transaction as defined in the Contract.

       19.       The Defendants agreed to pay and did pay to E&K an engagement fee of $15,000

(the “Engagement Fee”).

       20.       The Defendants agreed to pay E&K a “Success Fee” under the following

circumstances:

             a. “In the event that a Transaction is consummated during the term of this

                 agreement;” or



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             b. If a Transaction is consummated “within twenty-four (24) months of the

                termination of this agreement to any buyer who was contacted by the Consultant

                and/or any existing partners or shareholders […] or to any parties that the Client

                excluded the Consultant from contacting[.]”

       21.      The Defendants agreed that the amount of the Success Fee was to be computed as

follows:

       $100,000 plus 3% of the Total Consideration for the Company and/or for the sale
       or the lease of the Facilities. This fee will be applicable to all forms of
       Transactions. Also, if the sale of the Company is divided into multiple business
       units, and separate Transactions are consummated with different Buyers, the
       Success Fee shall be calculated separately for each Transaction. The Engagement
       Fee will be credited towards the Success Fee.

       22.      The Contract defined “Total Consideration” to mean:

       [A]ll value paid (whether in the form of cash or notes) or exchanged by the Buyer
       in connection with the investment in or acquisition of control (or any part thereof
       or interest therein) of the Company and/or the sale or lease of the Facilities. Total
       Consideration shall include, but not be limited to non-competes, assumed
       liabilities, employment and/or consulting agreements in excess of fair market
       rates, assets retained by the Client (including, but not limited to nom1al course of
       business working capital, accounts receivable and inventory) or any other non-
       contingent acquisition payment mechanisms, agreed between the Buyer and
       Client. It is agreed that, if an earnout, royalty, licensing or other contingent
       payment method is part of the Transaction; Consultant will receive the Success
       Fee applicable to this portion of the purchase price as such contingent payment is
       earned and paid. The non-contingent portion of the Success Fee shall be
       calculated as of, and paid at the time of closing of the Transaction.

       23.      Each Defendant agreed to the obligation of paying the Success Fee.

       24.      The Defendants agreed to pay interest in the amount of twelve percent per year on

any amount of money due and unpaid to E&K under the terms of the Contract.

       25.      The Defendants also agreed to pay reasonable attorney’s fees and costs if they

failed to pay all sums due to E&K under the terms of the Contract and E&K filed a lawsuit to

collect the amount due.

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       26.      E&K performed under the Contract by marketing the Company to its contacts,

entering into non-disclosure agreements with numerous potential purchasers, entering into direct

negotiations with several potential purchasers, and conveying multiple good faith offers to the

Defendants.

       27.      As part of its performance, on or about October 26, 2022, E&K sent out an email

campaign to, among numerous others, the following individuals, all of whom are owners,

officers, or employees of George & Lynch, Inc.:

             a. Chris Baker, C.E.O. of George & Lynch, Inc.

             b. Leonard Brooks

             c. David McGuigan

             d. William Robinson

       28.      George & Lynch Inc. is a Delaware corporation with a principal place of business

of 150 Lafferty Lane, Dover, Delaware 19901.

       29.      The Defendants also requested that E&K not contact any “local” business owners.

       30.      On January 21, 2023, Lynne Caswell informed E&K that the Defendants were

electing to terminate the Contract, falsely claiming on behalf of all Defendants that “It has

become clear to us that we are not ready to sell the business.”

       31.      Given that Defendants failed to give notice of termination more than 30 days

before the end of the initial one-year term, the Contract term ended July 17, 2023, eighteen

months after the execution of the Contract.




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                                          THE ACQUISITION

        32.     In or about September of 2024, within the twenty-four-month period following

the end of the term of the Contract, George & Lynch Inc. acquired the Company, in whole or in

part (the “Acquisition”).

        33.     On information and belief, a Total Consideration was paid to one or all of the

Defendants in connection with the Acquisition.

        34.     After the consummation of the Acquisition, despite demand, Defendants failed to

pay E&K the Success Fee.



        E&K’S ATTEMPTS TO AVOID LITIGATION AND MINIMIZE COST


        35.     On October 30, 2024, in an attempt to minimize litigation costs for which

Defendants would eventually be responsible, E&K sent a detailed letter to counsel to the

Defendants. A true copy of the October 30, 2024, Letter is attached as Exhibit B.

        36.     Defendants offered no response, simply ignoring the letter and leaving E&K with

no choice but to initiate this lawsuit.



                                           COUNT I
                            Breach of Contract Against All Defendants

        37.     E&K incorporates by reference all preceding paragraphs of this Complaint.

        38.     E&K entered into the Contract with the Defendants, under the terms of which

each and all Defendants agreed to pay E&K a Success Fee to be computed in accord with the

Contract.

        39.     E&K fully performed its obligations under the terms of the Contract.



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       40.      Defendants failed to perform their obligations under the Contract.

       41.      Defendants breached the Contract by not paying E&K the Success Fee.

       42.      Despite demands for payment of the Success Fee, Defendants have failed to cure

the breach of the Contract by paying the amount owed to E&K.

       43.      As a result of Defendants’ actions and inactions, E&K has suffered compensatory

damages.

       WHEREFORE, E&K requests that this Court enter judgment against the defendants,

jointly and severally, as follows:

             a. Awarding E&K compensatory damages;

             b. Awarding E&K interest on all sums of money due under the Contract at a rate of

                12% per year since the date of the Acquisition;

             c. Awarding E&K costs of suit and all reasonable attorney’s fees under the terms of

                the Contract in an amount to be determined by application of counsel after the

                entry of judgment in this matter; and

             d. Awarding such other and further relief as the Court determines is just and

                equitable.




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